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                  EXHIBIT 6
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Employer Information for Darden Restaurants, Inc.

Source: Darden Restaurants, Inc.



         Employee Information


   Employee Name                                                                                Drew A Desbordes


   Date of Birth


   SSN                                                                                                XXX XX


   Employee Address                                                                          , Duluth , GA ,


   Employee Phone Number




                                                                       y.
                                                                    nl
                                                                   O
          Employer Information
                                                              se
                                                              U
                                                           al
                                                         on
                                                      rs



   Employer Name                                                                          Darden Restaurants, Inc.
                                                    Pe
                                                 ee




   Employment Status                                                                         No Longer Employed
                                               oy
                                              pl
                                             m
                                         tE




   Information Current as of                                                                            04/20/2018
                                        or
                                    ep
                                    R




   Employer Code                                                                                               11533
                                al
                               ci
                              ffi
                          no




   Employer Address                                               1000 Darden Center Drive , Orlando , FL , 32837
                         U




   Job Title                                                                                                   Server


   Total Time with Employer


   FEIN                                                                                                 591219168


   Division                                                                                                    LHUSA


   Work Location (Job Site)


   Union Affiliation
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   Rate of Pay                                                                            $2.13 Hourly


   Average Hours per Pay Period


   Original Hire Date                                                                         03/25/2018


   Most Recent Start Date                                                                     03/25/2018


   Date of Termination                                                                        04/10/2018


   Reason for Termination



     Yearly Income Summary



                               2018




                                                                    y.
                                                                  nl
                                                                O
                                                            se
  Base Pay                  $222.22                        U
                                                           l
                                                        na
                                                      so



  Overtime
                                                       r
                                                    Pe
                                                ee




  Commission
                                               oy
                                            pl
                                           m
                                      tE




  Bonuses
                                      or
                                    ep
                                   R




  Other                     $227.65
                                al
                               ci
                            ffi
                          no




  Holiday
                         U




  Pension


  Shift
  Differential


  Severance


  Stock(Vested)


  Sick




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  Cafeteria Plan


  Garnishments


  Other Withholding




       Pay Increase Information


  Next Projected Date of Pay Increase


  Next Projected Amount of Pay Increase


  Last Date of Pay Increase


  Last Amount of Pay Increase




                                                                       y.
                                                                     nl
                                                                   O
       Income & Deductions
                                                               se
                                                              U
                                                              l
                                                           na
                                                         so



  Average Hours Per Pay Period
                                                          r
                                                       Pe
                                                   ee




  Pay Cycle                                                                                          Weekly
                                                  oy
                                               pl
                                              m




  Payroll Deduction for All Insurance Coverage
                                         tE
                                         or
                                       ep
                                      R




       Medical Insurance
                                   al
                                   ci
                               ffi
                              no
                             U




  Insurance Available                                                                                   Yes


  Employee Eligible                                                                                     Yes


  Reason for Ineligibility                                                                  Not Applicable


  Employee Enrolled


  Coverage Start Date


  Coverage Termination Date


  Carrier Name




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  Carrier Address


  Carrier Phone Number


  Carrier Policy Number


  Group Number


  Coverage Level


  Annual Cost                                                                                          $


  Dependent Coverage Available


  Per Pay Period Cost to Add Dependent


  Number of Dependents Covered                                                                         0




                                                                    y.
  Participating in COBRA




                                                                  nl
                                                                O
  Next Open Enrollment Date
                                                            se
                                                           U
                                                           l
                                                        na


  Dependents
                                                      so
                                                       r
                                                    Pe
                                                ee
                                               oy




        Dental Insurance
                                              pl
                                           m
                                         tE
                                      or




  Insurance Available
                                    ep
                                   R
                                al




  Employee Eligible
                                ci
                            ffi
                           no
                          U




  Employee Enrolled


  Carrier Name


  Carrier Phone Number


  Carrier Policy Number




        Vision Insurance


  Insurance Available




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  Employee Eligible


  Employee Enrolled


  Carrier Name


  Carrier Phone Number


  Carrier Policy Number




            Workers' Compensation



  Receiving Workers' Compensation


  Carrier




                                                                                              y.
                                                                                            nl
  Date of Inquiry



                                                                                          O
  Date of Award                                                                      se
                                                                                 l  U
                                                                              na
                                                                            so



  Claim Number
                                                                          r
                                                                       Pe
                                                                   ee




  Claim Pending
                                                                oy
                                                             pl
                                                           m
                                                       tE




Employer Level Disclaimer
                                                  or
                                                ep




 SSV:
                                               R




        **?If your employee worked for RUTH'S HOSPITALITY GROUP INC. prior to 12/25/23, you can find historical wages under employer code
                                            al




        21817. **
                                          ci
                                       ffi
                                   no
                                  U




        Darden Restaurants, Inc. is a Florida corporation and is the parent company of GMRI, Inc. GMRI, Inc. and its subsidiaries own and
        operate restaurants in the United States and Canada doing business under the brand names Olive Garden, LongHorn Steakhouse,
        Cheddar's Scratch Kitchen, Yard House, Bahama Breeze, The Capital Grille, Seasons 52, Eddie V's, and Wildfish Seafood Grille.

        Employees that have been rehired will have a most recent hire date different than the original hire date. Managers in California
        (excluding General Managers) are paid hourly. Overtime hours, whether paid at 1.5 times or 2 times the regular rate of pay, are broken
        out separately on an employee's pay stub.

        Garnishment

        Please send all garnishment requests to: Darden Corporation, ATTN: Payroll Garnishments, 1000 Darden Center Drive, Orlando, FL
        32837 or PO Box 695018, Orlando, FL 32869-5018.

        Bonus

        The Bonus Plan will continue as long as it supports Darden's business plan and is appropriate for the company's strategic growth
        objectives. However, as with any of our incentive programs, it is subject to change or termination at the sole discretion of the company.
        There will be an annual re-evaluation of the actual payout percentages to assess if the projected bonus payments are still delivering at
        targeted busienss plan level of performance.




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